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                        UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF OKLAHOMA

   PETER POE, et al.,
                                      Plaintiffs,
      v.                                            No. 23-cv-00177-JFH-SH
   GENTNER F. DRUMMOND, et al.,
                                  Defendants.

             SURREPLY IN OPPOSITION TO MOTION FOR A PRELIMINARY
                       INJUNCTION BY DEFENDANTS 15-53



   Submitted by:

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         Pursuant to this Court’s order, Doc. 125, Defendants 15-53 offer the following surreply, along

  with short supplemental declarations. See Exhibit 1, Dr. Cantor Suppl. Decl.; Exhibit 2, Dr. Laidlaw

  Suppl. Decl.; Exhibit 3, Dr. Thompson Suppl. Decl.; Exhibit 4, Dr. Harris Suppl. Decl.

    I.   Plaintiffs’ witnesses make various concessions that favor Defendants.

         To begin, the reply affidavits submitted by Plaintiffs’ witnesses contain significant concessions

  that favor Defendants, even if they aren’t intended as such. Dr. Janssen, for example, writes that “[n]o

  relevant organizations cite the need for co-occurring mental health conditions to be resolved …”

  before a minor is injected with life-altering hormones. Doc. 119-1, ¶ 36. He intends this as a rebuttal,

  but it is precisely this type of attitude among medical organizations that worries Defendants’ experts,

  as well as detransitioners, who believe that children are being irreversibly altered when other mental

  health issues may instead require treatment. See, e.g., Doc. 86-7, ¶ 28 (Dixon: “I have finally begun to

  receive the psychological therapy that I needed to help with my childhood trauma and other mental

  health issues.”). Dr. Janssen also admits that there is a “gap in the available research” when it comes

  to whether the promoted treatments actually reduce suicide. Doc. 119-1, ¶ 50. He attempts to

  downplay the significance of this gap, to be sure, but he does not (and cannot) deny its existence.

         Next up, Dr. Adkins concedes that she “cannot speak to the practice of every gender clinic in

  the country.” Doc. 119-2, ¶ 5. That is, she relies heavily on her out-of-state clinical experience, id. ¶¶

  5, 8, 12, 13 n.4, 14, 20, 21, 28, offers no indication that she has any experience in or knowledge of

  Oklahoma clinics, and admits she cannot speak to clinics outside her experience. As a result, Dr.

  Adkins is simply testifying as to how she personally believes clinics should operate, with no basis for

  extrapolating this to Oklahoma. She also writes that “[p]uberty blockers have been used to treat

  patients with gender dysphoria since at least 2004 in the United States,” id. ¶ 10, which buttresses

  Defendants’ assertion that these procedures are new. See L. W. ex rel. Williams v. Skrmetti, 73 F.4th 408,

  415 (6th Cir. 2023) (“Life-tenured federal judges should be wary of removing a vexing and novel topic


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  of medical debate from the ebbs and flows of democracy by construing a largely unamendable federal

  constitution to occupy the field.”). She further admits, as she must, that WPATH has now “eliminated

  strict age guidelines for hormone therapy.” Doc. 119-2, ¶ 11; see also id. ¶ 27. In addition, she concedes

  that “[g]oing directly from puberty blockers to gender-affirming hormones does affect fertility,” id. ¶

  26, that “pre pubertal ovarian and testicular tissue cryopreservation remains experimental,” id., and

  that “[s]ome transgender women do not return to their” bone density baseline within two to three

  years of treatment. Id. ¶ 13 n.4; see also id. ¶ 22 (admitting that in “the past, some of the estrogens used

  to treat patients did increase thrombovascular risks ….”). She also admits that it “is true” that certain

  “side effects from these hormone treatments can’t be undone.” Id. ¶ 20. She claims other side effects

  can be “easily reversed,” but then proceeds to describe the “reversals” in a way (“regular use of []

  medications along with hair removal techniques”) that doesn’t sound easy. Id. On top of all that, Dr.

  Adkins admits that for at least “some” unspecified and unquantified number of patients, there will

  indeed be a lifetime of hormones required once the treatments have started. Id. ¶ 24.

         Dr. Turban, in turn, admits it “is true that randomized controlled trials provide valuable

  information that other studies do not …[,]” Doc. 119-3, ¶ 8, although he bizarrely insinuates that

  Defendants’ experts focus too much on “randomized controlled trial study designs and questions of

  correlation versus causation.” Id. ¶ 8. Even if obtaining higher quality evidence is difficult or

  impossible in this arena, as he claims, that fact would not somehow improve the quality of lesser

  evidence, nor would it render causation unimportant or mean causation could be found in lower

  quality evidence. The burden is not on the State to disprove the efficacy and safety of a treatment;

  rather, its proponents must make a robust case in the first place. If such a case is impossible to make,

  then that is a problem for the proponents, not the State. Dr. Turban also concedes that “even after

  surgery, many transgender people still suffer elevated rates of mental health problems compared to

  cisgender people” and that the “reality” of the situation is that “mental health challenges” will still


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  exist after the hormones and surgery have been provided. Id. ¶ 14. He is correct that these concessions

  do not, by themselves, invalidate the proposed treatment, but they do contextualize the alleged harms

  in a way that favors the State when it comes to balancing harms for a preliminary injunction.

         Finally, Dr. Antommaria writes that using puberty blockers for precocious puberty “is not,

  however, experimental, as demonstrated by its approval by the United States (US) Food and

  Drug Administration (FDA) ….” Id. ¶ 8 (emphasis added). Two paragraphs later, though, he asserts

  that “the fact that a medication is not approved by the FDA for a particular indication does not

  necessarily mean that this use is experimental ….” Id. ¶ 10. In sum, the FDA’s approval is a key factor

  for showing that puberty blockers are not experimental for one use, according to Antommaria, but

  when a State wants to cite the FDA’s non-approval for another use as significant, he immediately

  downplays the importance of the FDA. He cannot have his cake and eat it too. See Skrmetti, 73 F.4th

  at 416 (FDA’s non-approval gives “us considerable pause about constitutionalizing an answer they

  have not given or, best we can tell, even finally studied”). Dr. Antommaria also concedes, again, that

  the “WPATH does not assert that the evidence for gender-affirming medical care for adolescents is

  high or moderate quality.” Doc. 119-4, ¶ 20. And he admits that the persons creating the oft-cited

  clinical practice guidelines from WPATH and the Endocrine Society are themselves weighing the

  “balance between the desirable and undesirable outcomes.” Id. ¶ 21. They can of course do so, but

  their weighing does not trump the Legislature’s right to weigh matters differently. See Dobbs v. Jackson

  Women's Health Org., 142 S. Ct. 2228, 2283-84 (2022); Gonzales v. Carhart, 550 U.S. 124, 166 (2007).

   II.   Plaintiffs wrongly attack the expertise of Defendants’ witnesses.

         Plaintiffs and their witnesses repeatedly attack Defendants’ experts as unqualified to speak here.

  Their primary complaint is that Defendants’ experts do not provide the hormonal (and surgical)

  treatments in question to minors suffering from gender dysphoria. For example, Dr. Janssen writes

  that “[w]ithout understanding the distress transgender patients face – as well remarkable benefits they


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  experience when they get the care they need – opinions about this care are unmoored from the reality

  of patients’ lives.” Doc. 119-1, ¶ 11. There are multiple problems with this argument.

         First and foremost, Defendants’ experts do not provide or participate in these treatments

  because they do not believe the treatments provide “remarkable benefits.” Whether these

  treatments should even be provided in the first place, as a scientific and ethical matter, is the central

  question at issue. Plaintiffs cannot just assume the truth of what they are advocating for and then

  disqualify those who disagree from opining. The Legislature is not barred from relying on experts who

  have declined to participate in a new or controversial procedure because they believe it is unproven

  and likely to be harmful. Otherwise, medical history would have looked a lot different. See Ex. 2,

  Laidlaw, ¶ 6 (“Should the critics of lobotomy have been silenced, for example, then this harmful

  practice might remain in widespread usage today.”). Defendants have not put forth experts from

  irrelevant fields; rather, they have put forth experts who would otherwise be considered strong

  candidates to provide or be involved with the treatments in question—if they considered those

  treatments legitimate and proven. And courts have for decades held that an “expert physician need

  not be a specialist in a particular medical discipline to render expert testimony relating to that

  discipline.” Pagés-Ramírez v. Ramírez-González, 605 F.3d 109, 114 (1st Cir. 2010) (citation omitted); see

  also Gayton v. McCoy, 593 F.3d 610, 617 (7th Cir. 2010) (similar); McDowell v. Brown, 392 F.3d 1283, 1297

  (11th Cir. 2004) (similar); Baerman v. Reisinger, 363 F.2d 309, 310 (D.C. Cir. 1966) (similar).

         Second, Dr. Cantor has already explained why clinicians can be biased or conflicted because of

  their practice and involvement in a debated treatment, and why disinterested and objective evaluation

  is important for scientific understanding. See, e.g., Doc. 86-1, ¶ 55 (“[I]n evidence-based medicine,

  opinion based on clinical experience is identified as the least reliable source of medical knowledge.”);

  see also id., ¶¶ 9-14, 292, 302. Plaintiffs’ experts have little to say to this. Only Dr. Antommaria attempts

  a response, but rather than address the reality that clinical experience has less objective scientific value


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  than other forms of evidence, he instead focuses on arguing that Plaintiffs’ experts don’t have

  “conflicts of interest in the relevant sense.” Doc. 119-4, ¶¶ 11-13. Even if true, which Defendants do

  not concede, this does nothing to show that clinical experience merits the value Plaintiffs put on it.

         Third, the alleged empathy for the “reality of patients’ lives” expressed by Plaintiffs’ experts all

  but disappears when it comes to detransitioners. Not one of Plaintiffs’ experts claims to have read the

  three affidavits submitted by Oklahoma women who detransitioned. See Ex. 2, Laidlaw, ¶ 15. Plaintiffs’

  experts want to be considered the only qualified voices in the room because they have treated minors

  in other States, but they cannot be bothered to even read the experiences of Oklahomans who dissent

  from the treatments because of their own traumatic experiences. Plaintiffs’ experts leave those

  Oklahoma patients to the lawyers, who in turn impugn the detransitioners for failing to be “forthright

  with their clinicians when being evaluated for gender dysphoria” and for failing “to report side effects

  they now attribute to hormone therapy.” Doc. 119 at 6 n.3. (They also indicate that one woman’s

  experience can be ignored because of her “religious conversion.” Id.) Incredible as this “throw-the-

  patients-under-the-bus” approach is, it counsels strongly in favor of the State because it is an effective

  concession of a central point made by Defendants’ experts: that the diagnosis of gender dysphoria

  “typically relies upon more subjective views of doctors, therapists, the family, and the patient,” which

  “leaves the door open for misdiagnoses or misunderstandings in a very complex area.” Doc. 86-4,

  ¶ 26. In attacking detransitioners this way, Plaintiffs validate the concerns of Defendants’ experts.

  III.   Defendants’ experts succinctly and ably rebut various claims made against them.

         In their attached affidavits, Defendants’ experts point out various flaws and mistakes made by

  Plaintiffs’ witnesses in the reply. Dr. Harris, for example, defends against attacks on his qualifications

  by reiterating that he has 40 years of endocrinology experience with the very hormones and drugs at

  issue in this case, and that he has made a reasoned decision not to participate in such treatments based

  in part on his belief that they are unproven. Ex. 4, Harris, ¶¶ 3-4.


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         Dr. Thompson, among other things, explains why the claim that Oklahoma’s law “treats

  different medical conditions inequitably” is wrong: “Treating different medical conditions differently

  is a bedrock of the entire medical profession.” Ex. 3, Thompson, ¶ 4. And Plaintiffs’ witnesses conflate

  “differences/disorders of sex development (DSDs) with gender dysphoria …. [t]he diagnoses are

  different and thus treatments should differ accordingly.” Id. Dr. Thompson also defends her ability

  as an OBGYN to comment on these issues, pointing out that it is “well within my professional area

  of expertise … to assert my medical opinion that preserving the physiologic health and functional

  bodily integrity of minors is fundamental and important, especially in regard to reproductive

  development and future function.” Id. ¶ 5.

         In addition to defending his qualifications as a long-time endocrinologist, Dr. Laidlaw points

  out that he is actively treating a “detransitioner” patient who transitioned as an adolescent, which

  undermines Plaintiffs’ claim that none of Defendants’ experts have any practical experience here. Ex.

  3, Laidlaw, ¶ 5. Dr. Laidlaw also pushed back against criticism that Defendants’ experts misrepresent

  European trends, pointing to a recent letter in the Wall Street Journal where numerous European

  doctors wrote that the “claim that gender transition reduces suicides is contradicted by every

  systematic review” and that “more and more European countries and international professional

  organizations now recommend psychotherapy rather than hormones and surgeries as the first line of

  treatment for gender-dysphoric youth.” Id. ¶ 22.

         Finally, Dr. Cantor explains how Plaintiffs’ experts mischaracterize and understate the

  importance of systematic reviews, which are designed to “minimize bias in selecting and evaluating

  the studies in the research literature.” Ex. 1, Cantor, ¶ 9. As a result, they “engage in the very cherry-

  picking and biased evaluation of evidence that the process was developed to prevent.” Id. p.3.




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                                            Respectfully submitted,


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                                     CERTIFICATE OF SERVICE

          I hereby certify that on the 8th of August, 2023, I electronically filed the foregoing

  SURREPLY IN OPPOSITION TO MOTION FOR A PRELIMINARY INJUNCTION BY

  DEFENDANTS 15-53 with the Clerk of Court using the CM/ECF system, which will send

  notification of this filing to the attorneys of record and all registered participants.



                                                                    s/ Zach West
                                                                    Zach West




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